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IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNESSEE 05 J l v 30
EASTERN DIVISION
D FiOLlO
D!ST CT.

f JACKSON
UNITED STATES OF AMERICA, )
)
)
Plaintiff, )
)

V ) Cr. N0/04-10010-T

)
)
VIRGIL GOODMAN, JR, )
)
)
Defendant. )

 

MOTION FOR COMJANCE

COMES NOW, the United States of

   
    

erica, by and through the undersigned Assistant

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the sentenelng date and Would s §§;:i_ 1
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-."\ (; jj w \
Currently, this cas s set for sentencing on June 17, 2005. Assistant UniteB{a{gs §
9-.§?.:4 \
. . . 393::) Q?
Attorney Kitchen is heduled to be out of the office on this date. 71 Q ___ §3
r.r>OC_ 0
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Defens counsel J eff Mueller has been consulted regarding the continuance and does not

HEREFORE, premises considered, the United States requests a continuance to June 28,

2005 or a date determined by this Honorable Court.

MOT|O GRANTED
DATE:

     

mesa D. Todd
U S\ Districl Judge

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"""‘ """" 55 and/or 320)) mch on M

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Respectfully submitted,

TERRELL L. HARRIS
United States Attorney

¢f}§I(RY /a,/AGTCH§\I
4 Assistant United States Attorney
109 South Highland Avenue, Suite 300
Jackson, Tennessee 38301
(73]) 422-6220

CERTIFICATE OF SERVICE
], JERRY R. KITCHEN, do hereby certify that I have this date delivered a true and exact

copy of the foregoing motion to:

Jeff Mueller

Muelier & Ellis

1289 North Highland Avenue
Jackson, TN 38305

This the q%day of]une, 2005.

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 103 in
case 1:04-CR-10010 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

 

J eff Mueller

LAW OFFICES OF JEFF MUELLER
P.O. Box 3146

Jackson7 TN 38303

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

